Case 3:21-cv-06118-JD   Document 72-6   Filed 10/04/22   Page 1 of 15




             EXHIBIT 5
Case 3:21-cv-06118-JD   Document 72-6   Filed 10/04/22   Page 2 of 15
        Case 3:21-cv-06118-JD       Document 72-6             Filed 10/04/22       Page 3 of 15




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     Case 3:21-cv-06118-JD   Document 72-6      Filed 10/04/22   Page 4 of 15




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Case 3:21-cv-06118-JD   Document 72-6   Filed 10/04/22   Page 5 of 15
Case 3:21-cv-06118-JD   Document 72-6   Filed 10/04/22   Page 6 of 15
    Case 3:21-cv-06118-JD        Document 72-6! Filed 10/04/22
                                                       !                    Page 7 of 15




                                                          Dean S. Kristy
                                                          dkristy@fenwick.com | 415.875.2387


September 13, 2022

VIA ECF

Hon. Vernon S. Broderick
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

Re:    Clifford et al. v. TRON Foundation et al., Case No. 1:20 cv 02804 VSB

Dear Judge Broderick:

We represent defendants TRON Foundation and Justin Sun. We write in response to
         August 31, 2022 Motion for Kyle Roche to Withdraw as Attorney. ECF No. 88.

This case is one of several cryptocurrency related class actions filed in this district by Mr.
         firm, Roche Freedman LLP                            Mr. Roche filed a motion to
withdraw in four of those cases on the same day, this action being one of them. The other
cases are In re Tether & Bitfinex Crypto Asset Litig., No. 19 cv 9236 KPF, Messieh v. HDR
Global Trading Ltd., No. 20 cv 3232 ALC, and Lee v. Binance, No. 20 cv 2803 ALC. In the
Tether and Messieh cases, defendants have responded by seeking removal of the Roche
Freedman firm as interim class counsel based on public statements attributed to Mr. Roche
concerning his motivations for bringing cryptocurrency related litigation, which suggest that
the actions were brought for purposes unrelated to the merits. In the wake of these
comments, the other plaintiff firms involved in Tether and Messieh have also sought to
remove the Roche Freedman firm as co lead counsel (not just Mr. Roche individually). In
Messieh, the Roche Freedman firm consented to withdraw after the named plaintiffs in that
action requested that the firm do so. ECF No. 109. In a fifth case, Williams v. Block.one, No.
20 cv 2809 LAK, the Roche Freedman firm moved to withdraw altogether, citing
                of its class action         ECF No. 154. For the same reasons discussed in
these parallel actions, Roche Freedman should be removed from this action.

As Mr.          comments have already been subject to extensive submissions in these
similar cases, we will not repeat them all here.1 In short, on August 26, 2022, the Crypto
Leaks website published a report which included a series of video clips. Those clips show


1
 We have attached a number of the most relevant submissions from those cases, including defense
opening and reply submissions (Ex. A), responses from Roche Freedman and Mr. Roche (Ex. B), and
submissions by other          counsel (Ex. C).
    Case 3:21-cv-06118-JD           Document 72-6! Filed 10/04/22
                                                          !                      Page 8 of 15


Hon. Vernon S. Broderick
September 13, 2022
Page 2


Mr. Roche (1) discussing his financial interest in a third party cryptocurrency company; (2)
discussing his misuse of class action litigation as a                       or      to benefit
that personal financial interest and harm cryptocurrency competitors, which is
completely different way than being a              and (3) making other derogatory comments
about both class members and jurors.

Mr. Roche has submitted a declaration in at least one of the cases indicating that he was
intoxicated when he made the comments and describing this footage as               taken
without my knowledge or              In re Tether, No. 19 cv 9236 KPF, ECF No. 232 1. His
firm has said the meeting that captured the footage was a           and some statements
made there were             to           but untrue. Id. at ECF No. 232 (included as Ex. B).
Mr. Roche and his firm have not, however, denied that he made the statements. In Tether,
Judge Failla has scheduled an October 3, 2022 hearing to take up these issues.

Mr.            statements are deeply troubling and raise serious issues regarding the bona
fides of this lawsuit, which TRON and Mr. Sun have moved to dismiss. Accordingly, as in
these other cases, we believe it is appropriate to remove the Roche Freedman firm (not just
Mr. Roche) as co counsel for plaintiffs in this case. We are prepared to address this matter
at the           convenience and suggest doing so after the matter is resolved in Tether.2

                                                  Sincerely,

                                                  FENWICK & WEST LLP

                                                  /s/ Dean S. Kristy

                                                  Dean S. Kristy

DSK:jat




2
  As discussed in detail in the pending motion to dismiss,           amended complaint is fatally
flawed. Among other deficiencies, the claims are all time barred, TRON is not a statutory seller
under Section 12 of the Securities Act, and the federal securities laws do not apply extraterritorially
to the claims, which involve sales of digital assets in 2017 completely outside the United States.
Case 3:21-cv-06118-JD   Document 72-6   Filed 10/04/22   Page 9 of 15
Case 3:21-cv-06118-JD   Document 72-6!   Filed 10/04/22
                                                ! !       Page 10 of 15
Case 3:21-cv-06118-JD   Document 72-6!   Filed 10/04/22
                                                ! !       Page 11 of 15
Case 3:21-cv-06118-JD   Document 72-6!   Filed 10/04/22
                                                ! !       Page 12 of 15
Case 3:21-cv-06118-JD   Document 72-6   Filed 10/04/22   Page 13 of 15
        Case 3:21-cv-06118-JD       Document 72-6!       Filed 10/04/22
                                                                !           Page 14 of 15
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September 20, 2022


Via ECF

Hon. Vernon S. Broderick
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

Re: Hardin, et al. v. Tron Foundation, et al., No. 1:20-cv-02804-VSB

Dear Judge Broderick:

         Selendy Gay Elsberg PLLC (“Selendy Gay Elsberg”) writes in response to the motion of
Kyle Roche to withdraw as counsel in this action, ECF No. 88, Defendants’ response requesting
that the Court remove Roche Freedman LLP (“Roche Freedman”) as co-lead counsel, ECF No.
89, and Roche Freedman’s response, ECF No. 92. Having given due consideration to the important
issues involved, Selendy Gay Elsberg believes that Roche Freedman’s continued involvement in
the litigation is not in the best interests of the class. Accordingly, on behalf of the class, we
respectfully request that the Court terminate Roche Freedman’s status as co-lead counsel. Selendy
Gay Elsberg is ready and willing to continue representing the class as lead counsel.

         Selendy Gay Elsberg first became aware of video recordings of Kyle Roche, a founding
and name partner of Roche Freedman, when those recordings were published online on August
26. 1 In the recordings, Mr. Roche makes statements regarding the blockchain industry and his
approach to class action litigation. Given the content of the recordings—and the fact that
Mr. Roche, in an August 29, 2022 public response, did not deny the recordings’ authenticity 2—
Selendy Gay Elsberg immediately asked Roche Freedman to withdraw as counsel to protect the
interests of the class. Unfortunately, Roche Freedman has refused to withdraw.

        Selendy Gay Elsberg is not able to evaluate the credibility of Mr. Roche’s statements
concerning Ava Labs, AVAX tokens, or Mr. Roche’s position at his firm or his financial interest
in this litigation. However, Roche Freedman’s continued involvement as counsel in the case is
contrary to the best interests of the class. Roche Freedman’s continued representation of the class

1
 See Ava Labs (Avalanche) attacks Solana & cons SEC in evil conspiracy with bought law firm,
Roche Freedman, Crypto Leaks (Aug. 26, 2022), available at https://cryptoleaks.info/case-no-3.
2
    See https://medium.com/@kyleroche/my-response-b691563c255b.
      Case 3:21-cv-06118-JD          Document 72-6!        Filed 10/04/22
                                                                  !            Page 15 of 15




would likely spawn significant discovery and motion practice as to the veracity and/or import of
the allegations. These issues are likely to unnecessarily distract from the merits of this dispute and
can be avoided, or at least significantly mitigated, by the removal of Roche Freedman as class
counsel.

        Selendy Gay Elsberg is experienced and capable of serving as lead class counsel, with
expertise in litigation concerning digital assets. For example, Selendy Gay Elsberg has been
appointed as co-lead counsel in numerous class actions in this District where the plaintiffs’
allegations involve the technical details of dozens of different crypto-assets.

       To protect the interests of the proposed class, we respectfully request that the Court
terminate Roche Freedman’s appointment as co-lead counsel. 3

Respectfully submitted,

s/ Jordan A. Goldstein
Jordan A. Goldstein
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Attorneys for Plaintiffs and the Proposed Class




3
  We note that neither lead plaintiff has stated that he is unwilling to continue serving as lead
plaintiff in the event that Roche Freedman is terminated as co-lead counsel.

                                                  2
